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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

MARSHALL DIVISION

OPTIS WIRELESS TECHNOLOGY, LLC, §
PANOPTIS PATENT MANAGEMENT, §
LLC, OPTIS CELLULAR TECHNOLOGY,  $§
LLC., §
§
Plaintiffs, §
§

v. § CIVIL ACTION NO. 2:17-CV-00123-JRG
§
HUAWEI TECHNOLOGIES CoO. LTD., §
HUAWEI DEVICE USA, INC., HUAWEI §
DEVICE (SHENZHEN) CO., LTD., §
§
Defendants. §

VERDICT FORM

In answering the following questions and filling out this Verdict Form, you are to follow all of the
instructions I have given you in the Court's charge. Your answer to each question must be
unanimous. Some of the questions contain legal terms that are defined and explained in detail in
the Final Jury Instructions. Please refer to the Final Jury Instructions if you are unsure about the
meaning or usage of any legal term that appears in the questions below.

In this Verdict Form:
“PanOptis” refers to:

Optis Wireless Technology, LLC, Optis Cellular Technology, LLC, and PanOptis
Patent Management, LLC, collectively;

“Huawei” refers to:
Huawei Device Co. Ltd. (now known as Huawei Device (Shenzhen) Co. Ltd.) and
Huawei Device USA, Inc., collectively;

“°216 Patent” refers to U.S. Patent No. 6,604,216;

“°238 Patent” refers to U.S. Patent No. 7,769,238;

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“569 Patent” refers to U.S. Patent No. 8,208,569;
‘°984 Patent” refers to U.S. Patent No. 8,385,284;
‘°993 Patent” refers to U.S. Patent No. 8,437,293;

“Asserted Patents”, collectively, refers to:
the ’216 Patent,
the ’238 Patent,
the 7569 Patent,
the ’284 Patent, and
the ’293 Patent; and

“Asserted Claims”, collectively, refers to:
Claim 1 of the ’216 Patent,
Claim 1 of the ’238 Patent,
Claims 11 and 17 of the ’569 Patent,
Claim 1 of the ’284 Patent, and
Claim 14 of the ’293 Patent.

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IT IS VERY IMPORTANT THAT YOU FOLLOW
THE INSTRUCTIONS PROVIDED IN THIS VERDICT FORM.

READ THEM CAREFULLY
AND ENSURE YOUR VERDICT COMPLIES WITH THEM.

 

 

Answer Question #1, Question #2, and Question #3 on the following pages.
After you have answered EACH of the three questions, continue to page 7 and

follow the instructions provided there.

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QUESTION #1:

Did PanOptis prove by a preponderance of the evidence that Huawei infringes ANY of

the following claims of the following patents?

For each Claim below, please answer “Yes” or “No”:

°216 Patent

Claim 1 Y 2S
°569 Patent

Chimt1 YRS

Claim 17 Y Qs
°284 Patent

Claim 1 UY eS
293 Patent

Claim 14 YES*
°238 Patent

Claim 1 Q eS

*The Court has determined this
answer as a matter of law and you
must accept it as correct. You
should draw no inference from this
determination in considering your
answer as to any other part of this

question.

 

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QUESTION #2:

Did PanOptis prove by a preponderance of the evidence that any of the asserted claims
listed below were willfully infringed by Huawei?

You should only answer as to those claims for which the answer was YES in Question #1.

For each claim listed below, please answer “Yes” or “No”:
216 Patent
Claim 1
569 Patent
Claim 11
Claim 17
°284 Patent
Claim 1
293 Patent
Claim 14
238 Patent

Claim 1

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. QUESTION #3:

Did Huawei prove by clear and convincing evidence that any of the following claims of

the following patents are invalid?

For each claim listed below, please answer “Yes” or “No”:

216 Patent

Claim 1 NO*_.
569 Patent

Claim 11 KWo

Claim 17 hd ©
284 Patent

Claim 1 NO*

°293 Patent
Claim 14 nO

°238 Patent

Claim 1 Wo

*The Court has determined these
answers as a matter of law and you
must accept them as correct. You
should draw no inference from
these determinations in considering
your answer as to any other part of

this question.

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IF YOU HAVE REACHED THIS POINT
IN THE VERDICT FORM,
YOU SHOULD HAVE NOW ANSWERED
QUESTION #1, QUESTION #2, AND QUESTION #3.

IF YOU HAVE NOT ANSWERED
EACH OF QUESTIONS #1, #2, AND #3
GO BACK AND ANSWER THEM BEFORE PROCEEDING.

Ifthe answer to EVERY Asserted Claim listed in Question #3 is YES, then do not answer
any further questions, proceed to the last page, have your Jury Foreperson sign and date this
Verdict Form, and then deliver it to the Court Security Officer. You should not pay attention to
any other instructions between this point and the signature page found at the end of this Verdict

Form.

If the answer is YES as to ANY claim in Question #1, PROCEED TO ANSWER THE
FOLLOWING QUESTIONS as to ONLY any claim of the Asserted Patents that is BOTH
infringed by Huawei and is NOT invalid. To be clear, you should only answer the following
questions as to those claims for which the answer as to that claim in Question #1 is YES AND the
answer to Question #3 is NO. Put another way, DO NOT ANSWER the following questions for

ANY claim for which the answer in Question #1 was NO OR the answer in Question #3 was YES.

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QUESTION #4:

What sum of money, if paid now in cash, do you find from a preponderance of the
evidence would fairly and reasonably compensate PanOptis for infringement of any of the

asserted patents through the time of trial?

Answer in dollars and cents.

216 Patent

s 19Q 7YQ
°569 Patent

s | W335, 362
°284 Patent

s "1S3,QX1b
293 Patent

s ANG, V4Y¥

7238 Patent

As to the sum(s) you have awarded against Huawei, if any, indicate below if the amounts are
intended to represent:

A Lump Sum OR x A Running Royalty

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FINAL PAGE OF JURY VERDICT FORM

You have now reached the end of the Verdict Form and should review it to ensure it accurately
reflects your unanimous determinations. After you are satisfied that your unanimous answers are
correctly reflected above, your Jury Foreperson should then sign and date this Verdict Form in the
spaces below. Once that is done, notify the Court Security Officer that you have reached a verdict.

Signed this oO Uday of August, 2018.

 

Signature of the J ury Foreperson
